 

Case 3:18-cV-01299-RPC Document 9 Filed 08/01/18 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CAROLYN BARKER, :
:CIVIL ACTION NO. 3:18-CV-1299

Plaintiff, .
:(JUDGE coNABoY)
V . '
= FILED
CoMENITY BANK, : SCRANTON
Defendant. § AUG OI.ZUU

 

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BecauSe the Court granted Defendant’s Uncontested Motion to
Stay in Favor of Arbitration (Doc. 7) by Order of July 26, 2018
(Doc. 8); and

Because the case is now stayed; and

Because the current procedural posture indicates the case is
appropriately administratively closed pending the outcome of
arbitration,

NOW, THEREFORE, THIS / SLE; DAX OF AUGUST 2018, the
Clerk of Court is directed to administratively close this case for
statistical purposes without prejudice to either party to the right

to reopen the case if deemed necessary.

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RICHARD P. coNABoY
United States Distric Judge

 

 

 

